
“ The court being of opinion that there is no errof in so much of the decree of the superior court of chancery as reverses that of the county court, and as decrees the sum therein mentioned to the appellees with costs, is yet of .opinion that the said decree is erroneous in this, that the appellees are not directed to give bond and security, according to the provisions of the act bf assembly, in such case provided,(1) to refund their due proportion of such debts and demands as might thereafter appear against the estate of the testator of the appellant, as a condition precedent to the payment of the sum decreed as aforesaid: therefore it is decreed and ordered that the same be reversed, &amp;c. and that the cause be remanded to the said court of chancery, that the decree may be reformed so as to require bond and security to be given prior to the payment of the sum so decreed.”

 Note. The words of the act of assembly apply only to an administrator.

